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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Civil Action No. 22-cv-02407-RM-STV

 ALANA MITCHELL;
 JENELLE NANGAH;
 D.A., a minor;
 K.Y, a minor; and
 KNOW JUSTICE KNOW PEACE; THE TAKE L.L.C.

       Plaintiffs,

 v.

 SCHOOL DISTRICT NO. 1 IN THE CITY AND COUNTY OF
 DENVER AND STATE OF COLORADO, d/b/a DENVER PUBLIC
 SCHOOLS,

       Defendant.


                     ORDER SETTING SCHEDULING CONFERENCE

 Entered By Magistrate Judge Scott T. Varholak

        Pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b),
 this case has been referred to this Court to, inter alia, convene a scheduling conference
 under Fed. R. Civ. P. 16(b) and enter a scheduling order meeting the requirements of
 D.C.COLO.LCivR 16.2. [#5]

       IT IS ORDERED:

        1.    Pursuant to Fed. R. Civ. P. 16(b) and Local Civil Rule 16.1, the Court shall
 hold a scheduling conference on:

                             December 20, 2022 at 10:00 AM

 in Courtroom A-402, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver,
 Colorado. Please remember that anyone seeking entry into the courthouse will be
 required to show valid photo identification. See D.C.COLO.LCivR 83.2(b). If this date is
 not convenient for any party, the parties should either confer and file a motion or jointly
 call Chambers at 303.335.2365 to reschedule the scheduling conference to a more
 convenient date.
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       2.      At least 21 days in advance of the scheduling conference, the parties shall
 meet and attempt to agree upon a scheduling order pursuant to Fed. R. Civ. P. 26(f). The
 Court strongly encourages the parties to meet face to face, but should that prove
 impossible, the parties may meet by telephone conference. All parties are jointly
 responsible for arranging and attending the Rule 26(f) conference.

         During the Rule 26(f) conference, the parties shall discuss all of the issues
 identified in Fed. R. Civ. P. 16(c)(2) and Fed. R. Civ. P. 26(f)(2-3), including the nature
 and basis of their claims and defenses and the possibilities for a prompt settlement or
 resolution of the case, make or arrange for the disclosures required by Fed. R. Civ. P.
 26(a)(1), and develop their proposed scheduling/discovery plan. The parties should also
 discuss the possibility of informal discovery, whether the parties anticipate the need for
 experts, and whether the parties anticipate substantial electronic discovery. The parties
 should be prepared to discuss these issues at the scheduling conference.

        3.      On or before December 13, 2022, the parties shall file a joint proposed
 scheduling order in the form required pursuant to D.C.COLO.LCivR 16.2. A copy of the
 instructions for the preparation of the proposed scheduling order and the required form
 can be downloaded from the court’s website at www.cod.uscourts.gov. Pursuant to
 D.C.COLO.LCivR 16.1, plaintiff shall be responsible for filing the proposed scheduling
 order, except in cases removed to this court, in which cases the party who removed the
 case shall file the proposed scheduling order. The proposed scheduling order shall be
 submitted electronically pursuant to District of Colorado Electronic Case Filing (“ECF”)
 Procedures V.6.1.

       4.      The parties shall comply with the mandatory disclosure requirements of
 Fed. R. Civ. P. 26(a)(1).

       5.     Pursuant to Fed. R. Civ. P. 26(d), no discovery shall be served prior to the
 Rule 26(f) meeting.




 DATED: September 20, 2022                       BY THE COURT:


                                                 s/Scott T. Varholak            s
                                                 United States Magistrate Judge




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